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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge Gordon P. Gallagher


   Civil Action No. 23-cv-03014-GPG

   TINA PETERS,

          Plaintiff,

   v.

   UNITED STATES OF AMERICA,
   MERRICK B. GARLAND, Attorney General of the United States, in his official capacity,
   JENA GRISWOLD, Colorado Secretary of State, in her official capacity, and
   DANIEL P. RUBINSTEIN, District Attorney of the Twenty-First Judicial District,
   in his official capacity.

          Defendants.


                                                 ORDER


          This matter comes before me sua sponte. To avoid the appearance of impropriety, I

   conclude that I must recuse myself from this case.

          Per Canon 3C of the Code of Conduct for United States Judges, “[a] judge shall disqualify

   himself . . . in a proceeding in which the judge’s impartiality might reasonably be questioned.”

   Similarly, under 28 U.S.C. § 455(a) “[a]ny . . . judge . . . of the United States shall disqualify

   himself in any proceeding in which his impartiality might reasonably be questioned.” This

   standard is an objective one. “In applying § 455(a), the judge’s actual state of mind, purity of

   heart, incorruptibility, or lack of partiality are not the issue.” United States v. Cooley, 1 F.3d 985,

   993 (10th Cir. 1993). Instead, the test is “whether a reasonable person, knowing all the relevant


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   facts, would harbor doubts about the judge’s impartiality.” Id. (quoting United States v. Burger,

   964 F.2d 1065, 1070 (10th Cir.1992)). Upon review of this matter, I conclude that my impartiality

   may be reasonably questioned if I continued to preside over this case, and that I therefore must

   recuse myself to comply with 28 U.S.C. § 455(a) and my obligations under the Code of Conduct

   for United States Judges.

          Based on the foregoing, IT IS ORDERED:

      1. That under 28 U.S.C. § 455(a), I RECUSE myself from this case; and

      2. This case SHALL BE REASSIGNED pursuant to D.COLO.LCivR 40.1; and

      3. Reassignment SHALL be to a District Judge of this Court as there is a pending Motion for

          a Preliminary Injunction (D. 8).



          DATED November 28, 2023.

                                                       BY THE COURT:




                                               Gordon P. Gallagher
                                               United States District Judge




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